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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                    8:13CR138
                      Plaintiff,              )
                                              )
         vs.                                  )                    ORDER
                                              )
DANNY JUNIOR BRAVO,                           )
                                              )
                      Defendant.              )
         This matter is before the court on the oral motion to continue the trial scheduled
January 14, 2014, by defendant Danny Junior Bravo (Bravo) made during a hearing on
December 12, 2013. The government had no objection. Bravo agreed to the motion and
acknowledged he understood the additional time would be excludable time for the
purposes of the Speedy Trial Act. Upon consideration, the motion will be granted.


         IT IS ORDERED:
         1.    Bravo’s oral motion to continue trial is granted.
         2.    Trial of this matter is re-scheduled for February 11, 2014, before Chief Judge
Laurie Smith Camp and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
December 13, 2013, and February 11, 2014, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 13th day of December, 2013.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
